Case No. 1:06-cr-00217-WYD Document 46-1 filed 09/05/06 USDC Colorado pg 1 of 1




                                 WITNESS LIST FORM

                                 Judge Phillip S. Figa


 Case No. 06-cr-00217-PSF                                      Date: September 5, 2006

 Case Caption:        United States             v.         Michael A. Romero


                            Plaintiff/Defendant Witness List

 Will Call Witnesses                                  Estimated Time for Examination
 (name & summary of testimony)                            Direct            Cross

 1. TFO Mark Cannon, DEA                              30 Minutes          15 Minutes
 Search of 1603 Ogden Avenue
 Pueblo, Colorado (01108103)

 2. Detective Mike Simonich, Pueblo, PD               30 Minutes          15 Minutes
 (A) Search of 1200 20th Lane,
     Pueblo, Colorado
 (B) Post-Arrest Statements (5/31/06)


 May Call Witnesses                                   Estimated Time for Examination
 (name & summary of testimony)                            Direct            Cross

 1. N/A                                               ____________        __________

  ________________________________                    ____________        __________

  ________________________________                    ____________        __________

 2. ______________________________                    ____________        __________

  ________________________________                    ____________        __________

 [etc.]
